4:09-cr-03117-RGK-CRZ      Doc # 270   Filed: 10/21/15   Page 1 of 1 - Page ID # 1996




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:09CR3117
                                        )
             V.                         )
                                        )
TRAVES RUSH,                            )                   ORDER
                                        )
                   Defendant.           )
                                        )


      Rush has submitted yet another § 2255 motion (filing no. 269). Like the one
I denied on August 19, 2015 (filing no. 266), Rush is not entitled to relief under
Johnson v. United States, 135 S.Ct. 2551 (June 26, 2015). Moreover, this motion is
successive because the defendant has already raised the Johnson issue without success
and he has not received permission from the Court of Appeals to file yet another §
2255 motion. Accordingly,

      IT IS ORDERED that the defendant’s motion (filing no. 269) is denied with
prejudice and a separate judgment will be issued.

      DATED this 21st day of October, 2015.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       Senior United States District Judge
